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                  EXHIBIT A
        Case 4:21-cv-03492 Document 1-2 Filed on 10/22/21 in TXSD PageReceived
                                                                       2 of 6 and E-Filed for Record
                                                                                                             9/13/2021 11:20 AM
                                                                                                       Melisa Miller, District Clerk
                                                                                                      Montgomery County, Texas
                                                                                                     Deputy Clerk, Taycee Aragon

                                              21-09-12660
                                    CAUSE NO. ___________

 RANDALL AUSBORN,                                 §               IN THE DISTRICT COURT OF
   Plaintiff                                      §
                                                  §
                                                  §
 v.                                               §        MONTGOMERYCOUNTY, TEXAS
                                                  §   Montgomery County - 284th Judicial District Court

 HOME DEPOT USA, INC.,                            §
   Defendant.                                     §                _______ JUDICIAL DISTRICT

      PLAINTIFF’S ORIGINAL PETITION AND NOTICE OF REQUIRED DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Plaintiff, Randall Ausborn (“Plaintiff”), and files this Original Petition and

Notice of Required Disclosure against Defendant, Home Depot, USA, Inc., and would respectfully

show the following:

                                       DISCOVERY LEVEL

         1.     Plaintiff intends to conduct discovery under Level 3 pursuant to Rule 190 of the Texas

Rules of Civil Procedure.

                                              PARTIES

         2.     Plaintiff, Randall Ausborn (“Plaintiff”) is a resident of Oklahoma County, Oklahoma.

         3.     Defendant, Home Depot, USA, Inc. (“Defendant” or “Home Depot”), is a foreign,

for-profit corporation conducting business in the State of Texas, and which may be served with

process by and through its registered agent, Corporation Service Company, d/b/a CSC-Lawyers

Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701, or wherever it

may be found.

                                    JURISDICTION & VENUE

         4.     This Court has subject-matter jurisdiction over this case, because the amount in

controversy is within the jurisdictional limits of this Court.
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       5.        This Court has personal jurisdiction over the Defendant, because conducts business

in the State of Texas.

       6.        Venue is proper in Montgomery County, Texas pursuant to Article 15.002, et. seq.,

of the Texas Civil Practice & Remedies Code, because it is the county in which all or a substantial

part of events or omissions giving rise to the claim occurred.

                                        RULE 47 STATEMENT

            7.        Plaintiff seeks monetary relief over $250,000 but not more than $1,000,000.00.

                                                  FACTS

       8.        On or about November 20, 2019, Plaintiff was operating a panel saw which

malfunctioned and electrocuted Plaintiff. This factual recitation is hereinafter referred to as the

“Incident.”

       9.        At the time of the Incident, Plaintiff was an employee of Home Depot, located at 1341

W. Davis Street, Conroe, Texas 77304.

       10.       As a result of the Incident, Plaintiff suffered severe injuries and damages.

       11.       Nothing Plaintiff did, or failed to do, caused the Incident. Rather, it was the negligence

of Defendant which proximately caused the Incident and resulted in Plaintiff's injuries and damages.

                                         CAUSES OF ACTION

                                         A.      NEGLIGENCE

       12.       Defendant was negligent in one or more of the following particulars, each of which

acts and/or omissions, individually or collectively, constitutes negligence which proximately caused

the Incident and the resulting injuries and damages to Plaintiff:

                 a.       Failing properly train, instruct, and supervise its employees;

                 b.       Failing to provide safe and properly functioning tools to employees; and

                 c.       Failing to implement safety protocols;
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       13.     The negligence of Defendant was the proximate cause of the Incident and Plaintiff's

injuries and damages.

                                       B.      GROSS NEGLIGENCE

       14.     Defendant was grossly negligent, as that term is understood under Texas law, and

such conduct was a proximate cause of Plaintiff's injuries and damages. Defendant’s grossly

negligent conduct justifies the imposition of punitive and exemplary damages both as punishment to

Defendant for Defendant's callous disregard for the safety of others and as a deterrent to others from

engaging in similar conduct. Plaintiff therefore asks for punitive and exemplary damages in addition

to all actual damages.

                                              DAMAGES

       15.     The actions and conduct of the Defendant set forth above are the proximate cause of

Plaintiff's serious injuries and damages. Plaintiff's damages include, but are not limited to, actual

damages, physical pain, mental anguish, disfigurement, physical impairment, limitation of activities,

and loss of enjoyment of life. In reasonable probability, Plaintiff will continue to suffer physical pain,

mental anguish, disfigurement, physical impairment, limitation of activities, loss of household

services and loss of enjoyment of life in the future.

       16.     Further, because of the action and conduct of the Defendant herein, Plaintiff has

sustained very painful and disabling physical injuries which have caused to sustain lost wages in the

past and will cause to sustain lost wages and a loss of wage earning capacity in the future. Because

of the nature and severity of the injuries sustained, Plaintiff has required medical treatment in the

past and, in reasonable probability, will require other and additional treatment in the future. Charges

for such medical treatment that have been made in the past and those which will in reasonable

probability be made in the future have been and will be reasonable charges made necessary by the

occurrence in question.

                                     EXEMPLARY DAMAGES
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       17.     Plaintiff seeks exemplary damages caused by Defendant's malice, gross negligence,

and willful acts and/or omissions. Exemplary damages are sought under Section 41.003(a)(2) of the

Texas Civil Practice and Remedies Code, as defined by Section 41.001(7). Plaintiff also seeks

exemplary damages under Section 41.003(a)(3) of the Texas Civil Practice and Remedies Code as

defined by Section 41.001(11).

                            PRE-AND POST-JUDGMENT INTEREST

       18.     Plaintiff seeks to recover pre-and post-judgment interest in accordance with the law

and equity as part of damages herein.

                                    NOTICE TO DEFENDANT

       19.     Plaintiff hereby notifies you, pursuant to Rule 193.7 of the Texas Rules of Civil

Procedure that Plaintiff intends to use all items produced by you in this litigation at any pre-trial

proceeding or trial.

                           RULE 609(F) REQUEST TO DEFENDANT

       Pursuant to Rule 609(f) of the Texas Rules of Evidence, Plaintiff hereby requests, in regard

to any party or witnesses that shall be named by any party as a person with knowledge of relevant

facts, or as a testifying expert, that you give Plaintiff sufficient advance written notice of your intent

to use evidence of a conviction of any such witness.

                                    REQUIRED DISCLOSURE

       Pursuant to Rule 194 of the Texas Rules of Civil Procedure, each Defendant is required to

disclose, within thirty (30) days of the filing of the first answer, the information or material described

in Rule 194.2(b)1-12. Any Defendant that is served or otherwise joined after the filing of the first

answer must make their initial disclosures within thirty (30) days after being served or joined.

                                    CONCLUSION & PRAYER
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       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendant be cited to

appear and answer and that, upon final trial hereof, Plaintiff has judgment against Defendant, and

that he recovers damages in accordance with the evidence, including:

       a.     Actual damages;
       b.     Past pain and suffering;
       c.     Future pain and suffering;
       d.     Past mental anguish;
       e.     Future mental anguish;
       f.     Physical impairment;
       g.     Past physical disfigurement;
       h.     Future physical disfigurement;
       i.     Past medical expenses;
       j.     Future medical expenses;
       k.     Loss of wages in the past;
       l.     Loss of wage-earning capacity;
       m.     Loss of household services;
       n.     Loss of enjoyment of life;
       o.     Exemplary damages;
       p.     Prejudgment and post judgment interest;
       q.     Court costs; and
       r.     All other relief, legal and equitable, to which she may be justly entitled.



                                             HERBERT LAW FIRM, PLLC

                                             /s/ Kyle C. Herbert
                                             Kyle C. Herbert
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                                             Texas Bar No. 24086192
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                                            ATTORNEYS FOR PLAINTIFF
